4:05-cr-03025-RGK-DLP   Doc # 81   Filed: 09/13/05   Page 1 of 1 - Page ID # 213



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:05CR3025
          v.                        )
                                    )
GARY OH WARD, SOKHA KEO and         )
LILLIAN RUIZ,                       )                    ORDER
                                    )
                Defendants.         )
                                    )



     IT IS ORDERED:

     The motion of defendant Lillian Ruiz, filing 80, to continue
trial is granted and,

     1. Trial of this matter as to the above-named defendants is
continued to 9:00 a.m., November 7, 2005, before the Honorable
Richard G. Kopf in Courtroom 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.
Jury selection will be held at commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
September 13, 2005 and November 7, 2005 shall be deemed
excludable time in any computation of time under the requirements
of the Speedy Trial Act, for the reason that the parties require
additional time to adequately prepare the case, taking into
consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

     DATED this 13th day of September, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
